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6

7                        IN THE UNITED STATES DISTRICT COURT
8                              FOR THE DISTRICT OF ARIZONA
9

10            Bahig Saliba,                          Case No. CV-22-543-PHX-JJT
11              Plaintiff,
12                  v.                               RESPONSE TO DEFENDANTS
13   Spokane International Airport et. al.,          MOTION TO DISMISS FOR LACK OF
14              Defendants.                          PERSONAL JURISDICTION
15
16
17
18

19

20

21                                   IMPROPER CONCLUSION
22
23          In his challenge, Mr. Robert T. Sullivan, has reached an improper conclusion of the
24   defendants’ minimum contact with the state of Arizona. The plaintiff asserts that this Circuit Court
25   personal jurisdiction in this case is proper.
26
                                                         1
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1                                  BRIEF FACTUAL HISTORY
2
3           The current American Airlines (AA) is a product of mergers and acquisitions of several
4    airlines led by America West Airlines. AA maintains hubs in several major airports in the United
5    States. Phoenix Sky Harbor Airport is one of AA’s major hubs that was the home base of America
6    West Airlines, Arizona’s Hometown airline. The plaintiff is an original America West pilot and
7    has always been based in Arizona.
8
9           AA’s network system has presence in the entire United States and specifically at the
10   Spokane International Airport. The airline operations control is centralized in Fort Worth, Texas
11   and so are the airline’s operations at Spokane International Airport. The airline structure dictates
12   that any contact with any AA representative anywhere in the system find its way to the appropriate
13   location, and in this case the AA Phoenix, Arizona hub.
14
15

16                                       DEFENDANTS ACTIONS
17
18          Spokane International Airport, as part of a transportation system, has a commercial interest
19   in Arizona and a connection. That connection is advertised on the Spokane International Airport
20   website. The airlines, and particularly AA, create those connections that allow Washingtonians to
21   travel to Arizona and by doing so, Spokane as a public entity, contacts Arizona daily and extends
22   its interests and business well into Arizona. Additionally, by and through its agents, in this case
23   the remaining three defendants, it extended its reach beyond the borders of Washington and
24   materially and substantially caused irreparable harm to the plaintiff. As stated by Mr. Sullivan on
25   P. 5 L. 22 of the motion to dismiss, “The individual Defendants’ work in and as a part of the
26   airport’s operations.” Spokane and the defendants’ actions are one and same in this case.
27
                                                      2
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1           On P. 4 L. 8 of the motion to dismiss it is stated: “All of the defendants’ activities, which
2    are subject of the complaint, took place in Washington.” That message was repeated in the motion
3    several times. The facts differ. The actions of the defendants were not contained in Washington,
4    and the defendants certainly availed themselves to the laws and protection of Arizona. The
5    plaintiff clearly identified such actions in the complaint on P. 14 L. 15, on P. 17 L. 8, on P. 21 L.
6    4, and again on P. 18 L. 13 of the complaint. Had the defendants followed the law and the Spokane
7    Police Department Policy Manual (the manual), the plaintiff would not have and would not
8    continue to suffer this detrimental outcome, he is one step away from termination and has not
9    flown an aircraft for AA since December 6th, 2021. See complaint P.18 L.16 and P.19 L.4 and 6.
10
11          Video and audio evidence support the fact that the defendants went out of their way to
12   instantly communicate to AA the events taking place. The defendants actively and purposely
13   created an immediate channel of communication with AA and paved the way, through follow up
14   emails, to further persecute the plaintiff through a process under the control of the airline, knowing
15   that the effects of their actions would manifest in Arizona. A similar outcome but in a different
16   state would occur if the plaintiff were based at any other AA hub.
17
18          The plaintiff has requested through the freedom of information act and was provided with
19   the documents below. The communications that took place between the defendants and AA clearly
20   show 1) The existence of the contact with the forum State, 2) That the defendants initiated the
21   contact and continued such contact in future dealings and well after the plaintiff left Washington,
22   3) The defendants intended on providing further assistance to AA in the future, and 4) Guided and
23   coached AA in the direction it should take to further persecute the plaintiff with the help of more
24   information from the Transportation Security Administration (TSA) local manager in Spokane.
25
26


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1           The plaintiff alleges there may exist other communications that took place that were not
2    documented. The plaintiff himself witnessed Sgt. Watson communicating with the AA agent upon
3    his arrival at the gate area. The plaintiff also alleges that more evidence in discovery and
4    deposition will reveal the true nature of the defendants’ actions. The plaintiff alleges that the
5    defendants acted officiously and inappropriately established contacts with AA.
6
7           The following are some of the communications between the defendants and AA the day of
8    and the day after the plaintiff left Washington.   It appears that there may be other forms of
9    communications that took place between the defendants and AA.
10
11          It is clear here that defendant Rose-Watson, as the leader of the group and in agreement
12   with the other defendants, used the wealth of her experience to coach AA, a multi-billion-dollar
13   corporation, on how to further persecute a working man who is abiding by the Federal Aviation
14   Administration laws and the mask mandate to safely take his passengers from Spokane to Dallas
15   Fort Worth.
16
17          I am also including a page from the hearing that AA conducted in their persecution of the
18   plaintiff. It clearly indicates there existed a line of communications between AA and the Spokane
19   Airport police.
20
21          The defendants, not only acted outside their authority, but they also went beyond the
22   borders of Washington and well into Arizona.
23
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                                                    4
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1                                       6
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1                                       7
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1




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1
2
3
4            The page below is from the hearing that AA conducted on January 6th, 2022, as a result of
5    being informed by the defendants of the event on December 6th, 2021, and it clearly shows the
6    extent of communications between the defendants and the plaintiff’s employer. Neither the
7    defendants nor AA has authority under the law to conduct any of their activity in persecuting the
8    plaintiff.
9
10
11
12
13

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1

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1           The plaintiff alleges that all three defendants have taken an oath to uphold and defend the
2    law and the constitution and they are to hold each other to account. Sergeant Watson was loud
3    and clear when she announced her intention of notifying AA of the plaintiff and officers Creek
4    and Holschen had the duty and opportunity to correct her actions and prevent her from
5    overstepping their authority and availing themselves of the law and protection of Arizona. All
6    three defendants operate as a unit and are held to account, especially when any one of them
7    becomes aware of a violation.
8
9
10          By their actions, all three defendants should have a reasonable expectation of being haled
11   into a courtroom other than in Washington State.
12

13

14

15                                      LEGAL AUTHORITY
16
17          The Supreme Court held that in determining personal jurisdiction we should not look at
18   the phrasing of the complaint in tort or contract, but the substance of the complaint.
19
20          Under Arizona. R. Civ. P. 4.2, an Arizona court may exercise personal jurisdiction over a
21   non-resident defendant to the maximum extent permitted by the Constitution. Arizona’s long-arm
22   statute has a broad remedial purpose and is liberally construed to confer upon Arizona residents
23   the maximum privileges permitted by the federal constitution. Meyers v. Hamilton Corp., 143
24   Ariz. 249, 252, 693 P.2d 904, 907 (1984)
25



                                                     11
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1           As illustrated above, the plaintiff’s allegations clearly indicate intentional and concerted
2    contact with the forum State Arizona and that maintaining the suit in Arizona does not offend
3    traditional notions of fair play and substantial justice. Id. At 252. 693 P.2d at 907.
4    “The notion of ‘fair play and substantial justice’ is a flexible one, requiring courts to look at the
5    fact situation of each case to determine whether there are sufficient, purposeful ‘minimum
6    contacts’ with the forum.” O’Conner, Cavanagh, Anderson, Westover, Killingsworth & Beshears,
7    P.A. v. Bonus Utah, Inc., 156 Ariz. 171,173, 750 P.2d 1374, 1376 (Ct App. 1988) (emphasis
8    added). See also Williams v. Lakeview Co., 199 Ariz. 3-4, 13 P.3d 280, 282-83 (2000) (“We cannot
9    decide the issue of personal jurisdiction by applying any mechanical test or ‘talismanic
10   jurisdictional formulas’; the facts of each case must always be weighed in determining whether
11   personal jurisdiction would comport with ‘fair play and substantial justice.’”) (quoting Burger
12   King Corp. v. Rudzewicz, 471 U.S. 462, 485-86 (1985)
13
14
15          Also, in deciding if minimum contacts exist, “it is not the number of contacts involved but
16   the importance of the particular contacts. Quality, not the quantity of the defendant’s activities, is
17   what is persuasive.” Meyers, 143 Ariz. At 253, 693 P.2d at 908. Therefore, a single act is sufficient
18   to establish a basis for personal jurisdiction. O’Conner, 156 Ariz. at 173, 750 P.2d at 1376.
19
20
21          Causing the plaintiff to not be able to fly an aircraft for AA since December 6th, 2021 and
22   be on the verge of losing a 24-year career with the airline speaks volumes of the effects of the
23   defendants’ actions.
24
25




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1           The plaintiff asserts that even the hiring by the defendants of an Arizona law firm to file
2    the motion to dismiss in and of itself is minimum contact necessary to establish personal
3    jurisdiction over the defendants.
4
5
6           As the plaintiff alleges on P. 14 L. 15 of the complaint, which is supported by body cam
7    recordings, defendant Rose-Watson announced she would proceed to the AA gate to inform the
8    AA agent about the captain who refused to wear a mask. The footage also indicates that the
9    defendant received confirmation from the AA gate agent, Tony, that the defendant’s chief pilot in
10   Phoenix will be notified making the defendant aware of the effects of her actions and where they
11   were heading.
12
13
14          In Walden v. Fiore, the Supreme court has held that first the relationship must arise out of
15   contacts that the “defendant himself” creates with the forum State. Burger King Corp. v.
16   Rudzewicz, 471 U.S. 462, 475 (1985). Here, the defendants initiated and created such contact
17   with AA.
18
19
20          In Gray Co. v. Firstenberg Machinery Co., Inc, the Circuit Court decision held that
21   “purposeful availment requires that the defendant engage in some form of affirmative conduct
22   allowing or promoting the transaction of business within the forum state. This focus upon the
23   affirmative conduct of the defendant is designed to ensure that the defendant is not haled into court
24   as the result of random, fortuitous or attenuated contacts…” Id. (citations omitted). A defendant
25   has purposely availed himself of the benefits of a forum if he has deliberately “engaged in
26   significant activities within a State or has created ‘continuing obligation’ between himself and the


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1    residents of the forum.” Burger King Corp. v. Rudzewicz, 471 U.S. 462, 475-76, 105 S. Ct 2174,
2    2183-84, 85 L.Ed.2d 528 (1985)
3
4
5           The defendants should not have notified AA of the events taking place at the security check
6    point, and the plaintiff asserts it is not required by law or anywhere in the 586 plus pages of the
7    manual to do so. The plaintiff asserts that, per the mask order, the defendants’ only options were
8    to advise the individual to place a mask over their nose and mouth and if the individual refused, to
9    escort the individual who refuses from the terminal. Additionally, the plaintiff was operating under
10   an exemption and the defendants intently and purposefully notified AA of the plaintiff. Their
11   actions were anything but random, fortuitous or attenuated contacts.
12
13
14          The plaintiff also alleged in the complaint on P. 17 L. 8 and P. 21 L. 4, and it is also
15   supported by the evidence, that the defendants created a communication channel with AA via email
16   and telephone on the following day. The email, in possession of the plaintiff, (see above) suggests
17   the defendants were willing and eager to provide AA with all the information to help the airline
18   persecute the plaintiff. In addition, the plaintiff’s chief pilot in Phoenix, Kenneth Wood, informed
19   the plaintiff that: “Washington State is after you.” The statement is included in the complaint on
20   P. 18 L. 13. The statement did not materialize out of thin air, but rather was transmitted to Kenneth
21   Wood as it was intended to be.
22
23
24          In this manner, and according to the Supreme Court decision in Walden v. Fiore, the Court
25   held that it upheld the assertion of jurisdiction over defendants who have purposefully “reach[ed]
26   out beyond” their State and into another by, for example, entering a contractual relationship that
27   “envisioned continuing and wide-reaching contacts” in the forum State,” and “….although
                                                      14
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1    physical presence in the forum is not a prerequisite to jurisdiction, Burger King, supra, at 476,
2    physical entry into the State – either by the defendant in person or through an agent, goods, mail,
3    or some other means – is certainly a relevant contact.
4
5
6           Additionally, AA is on record in the transcript of the first disciplinary hearing which the
7    plaintiff went through, (attached above) that cooperation existed between the defendants and AA
8    to persecute the plaintiff. It is on the record that AA management in Phoenix stated the following:
9    “….TSA and local authorities had an encounter with you going through… That information was
10   brought to Ken. And they were going to press charges but turned it over to American Airlines to
11   handle it within our own system….” Ken was the immediate supervisor of the plaintiff in Phoenix
12   at the time. The effects of the defendants’ contacts with AA took effect immediately and upon the
13   arrival of the plaintiff at his next destination. The plaintiff has not flown an aircraft for AA since
14   December 6th, 2021.
15
16
17          As illustrated above, the defendants purposefully injected their activities into Arizona. The
18   defendants’ activities started in Washington and extended to Arizona and their actions have and
19   continue to control the plaintiff’s future at the airline and that of his livelihood. The defendants’
20   actions created a substantial connection with the forum State, Arizona.
21
22
23          In support of the above statement, the Supreme Court has held in Walden v. Fiore that:
24   “….For a State to exercise jurisdiction consistent with due process, the defendant’s suit-related
25   conduct must create a substantial connection with the forum State…..”         The plaintiff, after 24
26   years, is on the verge of termination from AA, substantial enough, as a result of contacts made by


                                                      15
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1    the defendants to Arizona. The exercise of jurisdiction in Arizona “comport with federal due
2    process.”
3
4
5           The plaintiff does not see conflict in jurisdictional facts, however; if any jurisdictional facts
6    that conflict exist, then the court must view and resolve those facts in the light most favorable to
7    the plaintiff. MacPherson, 158 Ariz. at 312, 762 P.2d at 599. Where the determination of the
8    jurisdictional issue involves disputed factual questions that are intertwined with the merits of the
9    case and would therefore necessarily determine the merits of the case, the jurisdictional issue must
10   be left for trial rather than determined on a motion to dismiss. Bonner v. Minico, Inc., 159 Ariz.
11   246, 253-54, 766 P.2d 598, 605-06 (1988)
12
13
14          The plaintiff asserts that actions taken by the defendants meet all three requisites of the
15   Arizona long-arm statute, Rule 4.2 of Arizona Rules of Civil Procedure. (1) Whether the non-
16   resident defendant has performed some act or consummated some transaction within the forum or
17   otherwise purposefully availed himself of the privileges of conducting activities in the forum; (2)
18   Whether the claim arises out of or results from the non-resident’s forum related activities; and (3)
19   Whether the exercise of jurisdiction is reasonable.
20
21
22          The answer to three above is simple and straight forward. The “but for” test the Ninth
23   Circuit has adopted is clear. The plaintiff did not wear a facial mask in compliance with the
24   exemption available to him in the Security Directive of the TSA and the Federal Aviation
25   Regulations. On many occasions, the plaintiff interacted with TSA personnel and explained
26   aviation law, the only time the plaintiff was stopped, and the police called was in Spokane. The
27   plaintiff asserts that had the defendants not contacted AA in Arizona, the plaintiff would not have
                                                       16
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1    suffered and continue to suffer any damages. It is only because the defendants contacted AA that
2    the plaintiff is suffering damages, therefore it is reasonable for this court to exercise jurisdiction
3    over the defendants.
4
5
6           The plaintiff asserts that the defendants purposefully interjected into the forum state’s
7    affairs, Arizona, and directed and displayed their effort at continuing to persecute the plaintiff well
8    after he left Washington. The plaintiff had attempted feverishly to inform the defendants of his
9    rights and obligations as an airman but was summarily dismissed and shut out. Considering what
10   occurred, the defendants could reasonably foresee themselves haled into court in the forum State.
11
12
13          The plaintiff asserts that it is of high importance to defend the citizens of Arizona and it is
14   in the interest of the courts to do so in Arizona.
15
16          The plaintiff asserts the fact that the defendants extended their reach to Arizona and
17   inflicted extreme damage and irreparable harm on the plaintiff and that moving the forum to
18   Washington will place an unsolicited heavy burden on the plaintiff. The nature of the business the
19   plaintiff is engaged in takes him to various parts of the country and to require the plaintiff to bring
20   suit in each defendant’s State for every time an incident occurs would be inequitable, inefficient,
21   and contrary to the interest of judicial economy and efficiency. Furthermore, the defendants are
22   financially secure and have recently received millions of dollars in Federal funding which would
23   alleviate any financial burden on the defendants.
24          Again, it is untrue as the evidence will show and the motion states on P. 7 L11, that the
25   defendants did not purposefully inject their activities into Arizona. The defendants’ activities
26   targeted Arizona and were not limited to Washington. The effects of the defendants’ actions
27   spanned four different States resting in Arizona, the home base of the plaintiff. The defendants’
                                                          17
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1    actions have controlled the direction of events taking place to date and are affecting the plaintiff
2    in unimaginable ways.

3

4                                          IN CONCLUSION
5
6           Given their intentional and willful contacts with the forum State, Arizona, and the fact that
7    if it were not for their actions of notifying the plaintiff’s employer and offering all assistance in
8    persecuting him at present and in the future, the plaintiff would not have suffered irreparable harm.
9    This case falls well within the limits of due process, and it is befitting that the court exercises
10   personal jurisdiction over the defendants.
11
12          The plaintiff respectfully requests the court exercise personal jurisdiction over the
13   defendants in this matter and deny the defendants’ request to dismiss the case.
14
15   Respectfully submitted,
16   Dated May 24TH, 2022
17
18
19
20                                                         Signed:
21                                                         Bahig Saliba
22
23                                                         Bahig Saliba
24                                                         10824 East Santa Fe Trail
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                                                      18
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1                                  CERTIFICATE OF SERVICE
2

3           I hereby certify that on this day May 24, 2022, I electronically transmitted the forgoing
4    with the Clerk of the court using the CM/ECF system for filing, with copies submitted
5    electronically to the following recipient:
6
7
8                                                 Robert T. Sullivan/Bar No. 022719
9                                                 Law Offices
10                                                Broening Oberg Woods & Wilson
11                                                2800 N. Central Avenue, Suite 1600
12                                                Phoenix, AZ 85004
13                                                602-271-7700
14                                                Email: rts@bowwlaw.com
15
16
17          By
18          Bahig Saliba

19

20

21

22
23
24
25
26

                                                    19
